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                                      10

                                      11                         IN THE UNITED STATES DISTRICT COURT FOR THE

                                      12                                  EASTERN DISTRICT OF CALIFORNIA
             Sacramento, California
B ARTH D ALY LLP




                                      13
                Attorneys At Law




                                      14   UNITED STATES OF AMERICA,                            ) Case No. 2:12-CR-00315 JAM
                                                                                                )
                                      15                   Plaintiff,                           ) STIPULATION CONTINUE DATE TO FILE
                                                                                                ) REPLY AND [PROPOSED] ORDER
                                      16           v.                                           )
                                                                                                )
                                      17   LAWRENCE LOOMIS,                                     )
                                      18                   Defendant.                           )
                                                                                                )
                                      19

                                      20                                                STIPULATION
                                      21           Defendant, by and through defendant’s counsel of record, and Plaintiff United States of
                                      22   America, by and through its counsel of record, hereby stipulate as follows:
                                      23           1.      On July 30, 2015, the defendant filed motions for disclosure of witness list and a bill
                                      24   of particulars. Those motions were noticed to be heard on August 20, 2015, at 2:00 p.m.
                                      25           2.      By stipulation, the parties agreed to extend the time by which the government must
                                      26   file an opposition to those motions to August 13, 2015.
                                      27           3.      On August 13, 2015, the defense agreed to withdraw the motion for disclosure of
                                      28   witness list.
                                           {00016756}
                                           ____________________________________________________________________________________________________________
                                           Declaration of Lee Loomis                                                                  2:12-CR-0315 JAM
                                                 Case 2:12-cr-00315-JAM Document 266 Filed 08/18/15 Page 2 of 2


                                       1          4.      On August 13, 2015, the government filed an opposition to the bill of particulars.

                                       2          5.      By stipulation, the parties move to extend the time by which the defense must file its

                                       3   reply to the government’s opposition to August 17, 2015.

                                       4   IT IS SO STIPULATED

                                       5   Dated: August 14, 2015                         BENJAMIN WAGNER
                                                                                          U.S. ATTORNEY
                                       6
                                                                                          by: /s/ David D. Fischer for
                                       7                                                  PAUL HEMESATH
                                                                                          Assistant U.S. Attorney
                                       8
                                                                                          Attorney for Plaintiff
                                       9

                                      10   Dated: August 14, 2015                         /s/ David D. Fischer
                                                                                          DAVID D. FISCHER
                                      11                                                  Attorney for Defendant
                                                                                          LAWRENCE LELAND LOOMIS
                                      12
             Sacramento, California
B ARTH D ALY LLP




                                      13                                                   ORDER
                Attorneys At Law




                                      14

                                      15    IT IS SO ORDERED this 17th day of August, 2015.
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                                           {00016756}
                                           ____________________________________________________________________________________________________________
                                           Declaration of Lee Loomis                                                                  2:12-CR-0315 JAM
